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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE APPLICATION OF SUKHBAATAR
BATBOLD FOR AN ORDER PURSUANT TO
28 U.S.C. § 1782,                                    NOTICE OF VOLUNTARY
                                                     DISMISSAL PURSUANT TO
                      Petitioner.                    F.R.C.P. 41(a)(1)(A)(i)


                                                     Case No. 21-mc-000218-RA-OTW




       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Petitioner

Sukhbaatar Batbold hereby gives notice of his voluntary dismissal of the above captioned

Application.



Dated: May 8, 2023                          Respectfully submitted,


                                            GIBSON, DUNN & CRUTCHER LLP



                                            /s/ Orin Snyder
                                            Orin Snyder
                                            Karin Portlock
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